
876 So.2d 78 (2004)
STATE ex rel. Charles HENSLEY
v.
STATE of Louisiana.
No. 2003-KH-1691.
Supreme Court of Louisiana.
June 4, 2004.
Writ granted in part; otherwise denied; case remanded. Because under La.C.Cr.P. art. 922(B) and U.R.C.A. 2-18.2 relator's conviction did not become final until 14 days after the court of appeal issued its opinion, State v. Hensley, 00-1448 (La.App. 5th Cir.2/28/01), 781 So.2d 834, his application filed March 12, 2003, and placed in prison authorities' hands even earlier, Houston v. Lack, 487 U.S. 266, 108 S.Ct. 2379, 101 L.Ed.2d 245 (1988); State ex rel. Johnson v. Whitley, 92-2689 (La.1/6/95), 648 So.2d 909; Tatum v. Lynn, 93-1559 (La.App. 1st Cir.1994), 637 So.2d 796, arrived timely. Accordingly, the district court is directed to give merits considerations to his claims.
